Case 2:20-cv-01987-JWH-SK Document 46 Filed 09/27/21 Page 1 of 2 Page ID #:1921




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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   GARY MEDELLIN, an individual,          Case No. 2:20-cv-01987-JWH-SK
   12               Plaintiff,                 JUDGMENT
   13         v.
   14   UNITED PARCEL SERVICE, INC.,
          and DOES 1-10, inclusive,
   15
                    Defendants.
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Case 2:20-cv-01987-JWH-SK Document 46 Filed 09/27/21 Page 2 of 2 Page ID #:1922




    1         Pursuant to the Order on the Motion of Defendant United Parcel Service,
    2   Inc. (“UPS”) for Summary Judgment filed concurrently herewith,
    3         It is hereby ORDERED, ADJUDGED, and DECREED as follows:
    4         1.    The Court has personal jurisdiction over the parties and has subject
    5   matter jurisdiction over the above-captioned action pursuant to 28 U.S.C.
    6   §§ 1332(a)(1) & 1441.
    7         2.    Fictitiously named Defendants Does 1-10 are DISMISSED.
    8         3.    Defendant UPS shall have JUDGMENT in its favor, and against
    9   Plaintiff Gary Medellin.
   10         4.    Plaintiff Gary Medellin shall take nothing by way of his complaint.
   11   This action is DISMISSED.
   12         5.    To the extent that any party requests any other form of relief, such
   13   request is DENIED.
   14         IT IS SO ORDERED.
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   16   Dated: September 27, 2021
                                              John W. Holcomb
   17                                         UNITED STATES DISTRICT JUDGE
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